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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

RICHARD HARTMAN,

               Plaintiff,

v.                                                       CASE NO. 8:14-cv-01311-JSM-TGW

CAPITAL ONE BANK (USA), N.A.,

            Defendant.
_________________________________/

       STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE AS TO
                      CAPITAL ONE BANK (USA), N.A.

       It is hereby stipulated and agreed, by and between the parties and/or their respective

counsel(s) that the above-captioned action is voluntarily dismissed, with prejudice, as to Capital

One Bank (USA), N.A. pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). Each party is to bear their

own fees and costs except as otherwise agreed between the parties prior to this stipulation.

Dated: May 13, 2015                          Respectfully Submitted,

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/s/ Gus M. Centrone                          /s/ Brian Frontino
_______________________________              __________________________________
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 13, 2015, I presented a true and correct copy of the

foregoing to the Clerk of the United States District Court for the Middle District of Florida,

Tampa Division, for filing and uploading to the CM/ECF system.


                                           _/s/ Gus M. Centrone_________________
                                           GUS M. CENTRONE, ESQ.
